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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

THANHG HONG LUU, et al,        §
                               §
      Plaintiffs,              §
VS.                            §            CIVIL ACTION NO. 3:11-CV-00182
                               §
INTERNATIONAL INVESTMENT       §
TRADE & SERVICE GROUP A/K/A §
INTERSERCO; aka INTERSERCO, et §
al,                            §
                               §
      Defendants.

                                    ORDER

       The Court has reviewed Defendant Interserco’s Motion to Dismiss. See

Docket Entry No. 30. For the reasons below, the motion is DENIED IN PART

and GRANTED IN PART.

       On October 31, 2012, Plaintiffs amended their complaint to add new parties

and new causes of action.      Docket Entry No. 29. The amendment did not,

however, modify the factual allegations in the original complaint.      Compare

Docket Entry No. 29, with Docket Entry No. 1. Shortly thereafter, Interserco filed

the instant motion to dismiss. See Docket Entry No. 30.

       Most of Interserco’s arguments turn on the adequacy of the facts alleged in

the complaint to support the various causes of action.       In their response to

Interserco’s motion, Plaintiffs assert new facts not alleged in their most recent

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complaint, including that Plaintiffs faced imprisonment under Vietnamese law if

they failed to pay their debts and that Interserco’s “co-conspirators” confiscated

and kept Plaintiffs’ passports upon their arrival to the United States. Compare

Docket Entry No. 34 at 4, 13, with Docket Entry No. 29. Because Plaintiffs have

not yet amended the factual allegations in their complaint, the Court will allow

Plaintiffs to amend one final time.      Interserco may re-urge its arguments for

dismissal after Plaintiffs have filed their new complaint.

       The Court will, however, grant Interserco’s motion with respect to Plaintiffs’

Thirteenth Amendment claim. As Plaintiffs appear to concede, “the Thirteenth

Amendment itself does not provide a private right of action for damages.” Roe v.

Bridgestone Corp., 492 F. Supp. 2d 988, 997 (S.D. Ind. 2007) (collecting cases).

       In sum, the Court GRANTS Plaintiffs’ request for leave to amend their

complaint. The Court ORDERS that Plaintiffs file their new complaint by May 6,

2013. The Court GRANTS Interserco’s Motion to Dismiss (Docket Entry No. 30)

with respect to Plaintiffs’ Thirteenth Amendment Claim, but DENIES the

remainder of the motion.           Plaintiffs’ Thirteenth Amendment Claim is

DISMISSED.

       SIGNED this 12th day of April, 2013.


                                           ___________________________________
                                                         Gregg Costa
                                                   United States District Judge
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